                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            EASTERN DIVISION

IN RE:                       )
                             )
MARK POWERS & COMPANY, INC., )                 BANKRUPTCY CASE NO:
                             )                 21-40264-JJR-7
            Debtor.          )
                             )
ROCCO J. LEO, TRUSTEE,       )
                             )
     Plaintiff.              )
                             )                 ADVERSARY PROCEEDING NO.:
vs.                          )
                             )
FC BUSINESS CAPITAL,         )
SOUTHEASTERN COMMERCIAL      )
FINANCE, LLC,                )
CHTD COMPANY,                )
ON DECK CAPITAL, INC.,       )
                             )
     Defendants.             )

                                 COMPLAINT

      COMES NOW, Rocco J. Leo (ATrustee@), Trustee of the above estate and for his

Complaint against the above-named defendants would show this Court as follows:

1.    Plaintiff is the duly qualified and acting Trustee of the estate of the above-named

      Debtor.

2.    This Adversary Proceeding is for determination of rights as regards the bankruptcy

      case of Mark Powers & Company, Inc., being case #21-40264-JJR-7 on the docket

      of this Court.

3.    This Court has jurisdiction over this Adversary Proceeding pursuant to 28 U.S.C.

      ' 157, 1334 and 11 U.S.C. 's 547 and 548. This is a core proceeding under 28

      U.S.C. ' 157(b)(2)(E)(F) & (H).




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4.    This bankruptcy case was initiated by a voluntary petition filed on March 15, 2021.

5.    Rocco J. Leo is the duly authorized and acting trustee of the above debtor.

6.    FC Business Capital is a financing company with a filed UCC as regards the

      debtor.

7.    Southeastern Commercial Finance, LLC, is a financing company with a filed UCC

      as regards the debtor.

8.    CHTD Company is a financing company with a filed UCC as regards the debtor.

9.    On Deck Capital, Inc., is a financing company that claims to have a UCC against

      the debtor.

                                     FACTS

10.   The debtor filed this case on March 15, 2021, in the United States Bankruptcy

      Court for the Northern District of Alabama and was assigned case #21-40264.

11.   Rocco J. Leo was appointed the trustee of this bankruptcy case and currently

      serves as the trustee of this case (“Leo”).

12.   The debtor’s schedules list no secured debt.

13.   Leo has liquidated the assets of the debtor.

14.   The following defendants had filed UCC’s pending at the time of the filing of this

      case. A copy of the UCC search is attached as Exhibit A.

      FC Business Capital
      201 St. Charles Avenue
      Suite 2409
      New Orleans, LA 70170

      Southeastern Commercial
      Finance, LLC
      P. O. Box 11063
      Birmingham, AL 35202-1063




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      CHTD Company
      P. O. Box 2576
      Springfield, IL 62708


15.   Defendant, On Deck Capital, Inc., filed two proof of claims in this case, claims #25

      and #26, purporting to be an unsecured creditor of the debtor.

16.   On Deck Capital, Inc., now claims that the UCC filed by the defendant, CHTD

      Company, was filed on their behalf (“CHTD UCC”).

17.   The CHTD UCC was filed on January 27, 2018.

18.   As evidenced by the attachments to the claims of On Deck Capital, Inc., the first

      alleged debt from the debtor to On Deck Capital, Inc., occurred on January 29,

      2018.

19.   Leo is desirous of determining the correct distributions, after deduction of

      administrative expenses of the proceeds from the liquidation of assets of this state.

                                  COUNT ONE

20.   Plaintiff incorporates each and every allegation contained in paragraphs one (1)

      through nineteen (19) above as if fully set out herein.

21.   Leo requests a declaratory judgment from this Court of the priority of the

      defendants to proceeds of this estate.

22.   Leo further requests a declaratory judgment as to the amount, if any, due the

      defendants as secured creditors of this estate.

      WHEREFORE, Premises Considered, Leo prays that this Court will enter an order

detailing the amount (if any) and priority of the defendants to the assets of this estate.

Leo prays for such further and additional relief to which he may be entitled.




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                                        Respectfully submitted,



                                        /s/William Dennis Schilling
                                        William Dennis Schilling
                                        Attorney for Trustee

OF COUNSEL:

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Serve Defendants at:

FC Business Capital
Attn President
201 St. Charles Avenue
Suite 2409
New Orleans, LA 70170

Southeastern Commercial Finance, LLC
Attn: Pat Trammel, Member
P. O. Box 11063
Birmingham, AL 35202-1063

CHTD Company
Attn: President
P. O. Box 2576
Springfield, IL 62708

On Deck Capital, Inc.
Attn: President
1400 Broadway FL 25
New York, NY 10018




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